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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

 v.                                               Case No: 21-cr-3-RCL

 JACOB ANTHONY CHANSLEY,

                Defendant.


                   APPLICATION FOR ACCESS TO VIDEO EXHIBITS

       Pursuant to Local Criminal Rule 57.6 and Standing Order No. 21-28 (BAH), applicants

Cable News Network, Inc., American Broadcasting Companies, Inc. d/b/a ABC News, The

Associated Press, Buzzfeed, Inc. d/b/a BuzzFeed News, CBS Broadcasting Inc. o/b/o CBS News,

Dow Jones & Company, Inc., publisher of The Wall Street Journal, The E.W. Scripps Company,

Gannett Co., Inc., Gray Media Group, Inc., Los Angeles Times Communications LLC, publisher

of The Los Angeles Times, National Public Radio, Inc., NBCUniversal Media, LLC d/b/a NBC

News, The New York Times Company, Pro Publica, Inc., Tegna, Inc., and WP Company LLC,

d/b/a The Washington Post (together, the “Press Coalition”) respectfully seek access, under the

First Amendment and common law, to video recordings that have been submitted to the Court in

this matter. In support of this application the Press Coalition states as follows:

       1.      On May 14, 2021, in response to a motion filed by the Press Coalition, Chief

Judge Beryl A. Howell issued Standing Order No. 21-28 (the “Standing Order”). The Standing

Order recognizes “[t]he significant public and media interest in the numerous criminal cases

arising from the January 6, 2021 violent breach of the United States Capitol (the ‘Capitol

Cases’), for which the parties are routinely submitting video exhibits to the Court for use in

pretrial proceedings.” See Standing Order at 2.
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       2.      To accommodate this interest, the Standing Order provides that “[m]embers of the

media seeking access to video exhibits submitted to the Court in Capitol Cases may file an

application . . . to the presiding judge in the case, or if no judge has been assigned, to the Chief

Judge, for determination, and the judge may seek the position of the parties.” See id. at 5.

       3.      The Standing Order further provides that “[u]pon grant of such media application,

the government shall make the video exhibit[s] available to any member of the media with

necessary access credentials provided by the government, unless the order otherwise limits

access.” See id. at 5-6. Specifically, the Standing Order states that “[m]embers of the media

provided access to video exhibits in a particular case pursuant to such order may view those

exhibits” by way of an electronic “‘drop box’” into which the Government has agreed to place

videos subject to access orders in the Capitol Cases. See id. at 6.

       4.      This is one of the Capitol Cases. Defendant Jacob Anthony Chansley pled guilty

to violating 18 U.S.C. § 1512(c)(2): obstruction of an official proceeding, in connection with his

conduct at the Capitol on January 6. See Gov’t’s Sentencing Memorandum at 13-14, Dkt. 81.

       5.      With its Sentencing Memorandum, the Government submitted twelve video

exhibits (the “Video Exhibits”). Gov’t’s Notice of Filing of Video Sentencing Exhibits, Dkt. 86.

       6.      The Video Exhibits are plainly “intended to influence the court” in its decision-

making, and as a result it is a judicial record subject to a “strong presumption in favor of public

access.” Leopold v. United States, 964 F.3d 1121, 1127-28 (D.C. Cir. 2020) (Garland, J.).

       7.      Neither the Government nor Defendant can possibly rebut the presumption of

access under United States v. Hubbard, 650 F.2d 293, 317-21 (D.C. Cir. 1980). See, e.g., United

States v. Jackson, 2021 U.S. Dist. LEXIS 49841 (D.D.C. Mar. 17, 2021) (Howell, C.J.) (granting

access to video exhibits in one of the Capitol Cases).
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       8.      Because the Video Exhibits are judicial records subject to an unrebutted

presumption of public access, the Court should grant this Application and direct the Government

to release the Video Exhibits to the Press Coalition via electronic “drop box” within 72 hours.

To expedite that release, the Court should further instruct the Government to provide

undersigned counsel with the “necessary access credentials” referenced in the Standing Order.

       9.      The Standing Order provides that “[n]o recording, copying, downloading,

retransmitting or further broadcasting of video exhibits in a particular case is permitted, unless

such permission is granted by the presiding judge.” See Standing Order at 6. The Press

Coalition therefore requests that the Court grant permission to record, copy, download,

retransmit, and otherwise further publish the Video Exhibits.1

                                         CONCLUSION

       For the foregoing reasons, the Press Coalition respectfully requests that the Court order

the Government to release the Video Exhibits, without restriction, within 72 hours.

         Dated: October 13, 2022           Respectfully submitted,

                                           BALLARD SPAHR LLP

                                           /s/ Charles D. Tobin
                                           Charles D. Tobin (#455593)
                                           Maxwell S. Mishkin (#1031356)
                                           Lauren Russell (#1697195)
                                           1909 K Street, NW, 12th Floor
                                           Washington, DC 20006
                                           Tel: (202) 661-2200
                                           Fax: (202) 661-2299
                                           tobinc@ballardspahr.com
                                           mishkinm@ballardspahr.com
                                           russelll@ballarspahr.com

                                           Counsel for the Press Coalition
1
 The Press Coalition makes this request without conceding that the Standing Order complies
with the First Amendment or common law, and expressly reserving the right to challenge this
and other portions of the Standing Order in this and other Capitol Cases.
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                                CERTIFICATE OF SERVICE
       I hereby certify that on October 13, 2022, I caused true and correct copies of the

foregoing to be served via electronic mail and U.S. Mail on the following:

              John M. Pierce
              21550 Oxnard Street
              3rd Floor, PMB #172
              Woodland Hills, CA 91367
              jpierce@johnpiercelaw.com

              Attorney for Jonathan Anthony Chansley


              Kimberly Louise Paschall
              555 Fourth Street, NW
              Washington, DC 20530
              kimberly.paschall@usdoj.gov

              Attorney for the United States of America


                                                     /s/ Charles D. Tobin
                                                     Charles D. Tobin (#455593)
